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Case Number                Last Name                 First Name           Middle Name
1:99-cr-00544                Alesia                    Joseph               Michael


1:09-cr-00154                 Best                    Yasmin
1:09-cr-00154                 Best                    Yasmin
1:09-cr-00154                 Best                    Yasmin
1:09-cr-00154                 Best                    Yasmin
1:10-cr-00673                 Best                    Yasmin
1:10-cr-00673                 Best                    Yasmin
1:10-cr-00673                 Best                    Yasmin
1:10-cr-00673                 Best                    Yasmin
1:10-cr-00673                 Best                    Yasmin
1:10-cr-00673                 Best                    Yasmin
1:10-cr-00673                 Best                    Yasmin
1:13-cr-00761                 Best                    Yasmin
1:15-cr-00451                 Best                    Yasmin
1:15-cr-00452                 Best                    Yasmin
1:15-cr-00452                 Best                    Yasmin
1:15-cr-00583                 Best                    Yasmin
1:16-mc-00493                 Best                    Yasmin
1:17-mc-00391                 Best                    Yasmin
1:17-mc-00392                 Best                    Yasmin
1:18-cr-00267                 Best                    Yasmin
1:18-cr-00324                 Best                    Yasmin
1:18-cr-00865                 Best                    Yasmin
1:18-mc-00397                 Best                    Yasmin
1:18-mc-00796                 Best                    Yasmin


1:10-cr-00673               Biesenthal                Bethany                 Kaye
1:10-cr-00673               Biesenthal                Bethany                 Kaye
1:10-cr-00673               Biesenthal                Bethany                 Kaye
1:10-cr-00673               Biesenthal                Bethany                 Kaye
1:10-cr-00673               Biesenthal                Bethany                 Kaye
1:10-cr-00673               Biesenthal                Bethany                 Kaye
1:10-cr-00673               Biesenthal                Bethany                 Kaye
1:15-cr-00642               Biesenthal                Bethany                 Kaye
1:15-cr-00656               Biesenthal                Bethany                 Kaye
1:15-cr-00656               Biesenthal                Bethany                 Kaye
1:15-cr-00656               Biesenthal                Bethany                 Kaye
1:15-cr-00675               Biesenthal                Bethany                 Kaye
1:16-cr-00475               Biesenthal                Bethany                 Kaye
1:16-mc-00042               Biesenthal                Bethany                 Kaye
1:16-mc-00516               Biesenthal                Bethany                 Kaye
1:17-mc-00026               Biesenthal                Bethany                 Kaye
1:99-cr-00545               Biesenthal                Bethany                 Kaye
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1:07-cr-00843                 Block                    Steven                Andrew
1:09-cr-00539                 Block                    Steven                Andrew
1:09-cr-00539                 Block                    Steven                Andrew
1:09-cr-00539                 Block                    Steven                Andrew
1:13-cr-00036                 Block                    Steven                Andrew
1:13-cr-00036                 Block                    Steven                Andrew
1:13-cr-00037                 Block                    Steven                Andrew
1:13-cr-00037                 Block                    Steven                Andrew
1:13-cr-00037                 Block                    Steven                Andrew
1:13-cr-00037                 Block                    Steven                Andrew
1:99-cr-00544                 Block                    Steven                Andrew


1:08-cr-00116                Boutros                   Andrew                  S.
1:08-cr-00947                Boutros                   Andrew                  S.
1:08-cr-00947                Boutros                   Andrew                  S.
1:08-cr-00947                Boutros                   Andrew                  S.
1:12-cr-00791                Boutros                   Andrew                  S.


1:12-cr-00170                Bruner                     Scott                Vincent


1:94-cr-00723                 Burley                    John                   L.


1:07-cr-00224                Buvinger                  David                   D.
1:07-cr-00224                Buvinger                  David                   D.
1:07-cr-00224                Buvinger                  David                   D.
1:07-cr-00224                Buvinger                  David                   D.
1:17-cv-07466                Buvinger                  David                   D.
1:17-cv-08584                Buvinger                  David                   D.
1:18-cv-00269                Buvinger                  David                   D.


1:17-cv-07931                Canetti                   Bruce                   C.


1:07-cr-00843                Cannon                    Rachel                 Marie


1:12-cr-00050                Chmelar                   Michael                John
1:12-cr-00791                Chmelar                   Michael                John


1:10-cr-00673                Church                    Megan                 Cunniff
1:10-cr-00673                Church                    Megan                 Cunniff
1:10-cr-00673                Church                    Megan                 Cunniff
1:10-cr-00673                Church                    Megan                 Cunniff
      Case: 1:16-cr-00438 Document #: 71 Filed: 02/21/20 Page 4 of 20 PageID #:349
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1:10-cr-00673                Church                    Megan                 Cunniff
1:10-cr-00673                Church                    Megan                 Cunniff
1:10-cr-00673                Church                    Megan                 Cunniff
1:11-cr-00292                Church                    Megan                 Cunniff
1:91-cr-00463                Church                    Megan                 Cunniff


1:15-cr-00067                 Cole                    Samuel                   B.
1:15-mc-00628                 Cole                    Samuel                   B.
1:15-mc-00653                 Cole                    Samuel                   B.


1:11-cr-00784                 Deis                       J.                  Gregory


1:03-cr-00713               DePodesta                  Nancy                   L.
1:03-cr-00713               DePodesta                  Nancy                   L.
1:03-cr-00713               DePodesta                  Nancy                   L.
1:03-cr-00713               DePodesta                  Nancy                   L.
1:03-cr-00713               DePodesta                  Nancy                   L.
1:03-cr-00713               DePodesta                  Nancy                   L.
1:08-cr-00947               DePodesta                  Nancy                   L.
1:08-cr-00947               DePodesta                  Nancy                   L.
1:08-cr-00947               DePodesta                  Nancy                   L.
1:10-cr-00261               DePodesta                  Nancy                   L.
1:10-cr-00261               DePodesta                  Nancy                   L.
1:10-cr-00261               DePodesta                  Nancy                   L.
1:14-cr-00156               DePodesta                  Nancy                   L.
1:14-cr-00156               DePodesta                  Nancy                   L.


1:15-mc-00620               Didwania                   Vikas                 Kumar
1:15-mc-00621               Didwania                   Vikas                 Kumar
1:15-mc-00655               Didwania                   Vikas                 Kumar
1:15-mc-00656               Didwania                   Vikas                 Kumar
1:16-cr-00206               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
      Case: 1:16-cr-00438 Document #: 71 Filed: 02/21/20 Page 5 of 20 PageID #:350
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1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00463               Didwania                   Vikas                 Kumar
1:16-cr-00802               Didwania                   Vikas                 Kumar
1:16-mc-00152               Didwania                   Vikas                 Kumar
1:16-mc-00153               Didwania                   Vikas                 Kumar
1:16-mc-00203               Didwania                   Vikas                 Kumar
1:16-mc-00225               Didwania                   Vikas                 Kumar
1:16-mc-00403               Didwania                   Vikas                 Kumar
1:16-mc-00413               Didwania                   Vikas                 Kumar
1:16-mc-00479               Didwania                   Vikas                 Kumar
1:16-mc-60030               Didwania                   Vikas                 Kumar
1:16-mc-60031               Didwania                   Vikas                 Kumar
1:17-cr-00052               Didwania                   Vikas                 Kumar
1:17-mc-00554               Didwania                   Vikas                 Kumar
1:17-mc-00555               Didwania                   Vikas                 Kumar
1:17-mc-00556               Didwania                   Vikas                 Kumar
1:18-cr-00696               Didwania                   Vikas                 Kumar
1:18-cr-00758               Didwania                   Vikas                 Kumar
1:18-cr-00758               Didwania                   Vikas                 Kumar
1:18-cr-00783               Didwania                   Vikas                 Kumar
1:18-cr-00783               Didwania                   Vikas                 Kumar
1:18-mc-00103               Didwania                   Vikas                 Kumar
1:18-mc-00516               Didwania                   Vikas                 Kumar
1:18-mc-00517               Didwania                   Vikas                 Kumar
1:18-mc-00583               Didwania                   Vikas                 Kumar
1:18-mc-00649               Didwania                   Vikas                 Kumar
1:18-mc-00650               Didwania                   Vikas                 Kumar
1:18-mc-00676               Didwania                   Vikas                 Kumar
1:18-mc-00677               Didwania                   Vikas                 Kumar
1:18-mc-00709               Didwania                   Vikas                 Kumar
1:18-mc-00791               Didwania                   Vikas                 Kumar
1:18-mc-00792               Didwania                   Vikas                 Kumar
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1:02-cr-00719                 Egan                     Christina               M.


1:02-cr-00719                 Elden                     Barry                 Rand


1:03-cr-01136                 Fairley                  Sharon                Renee
1:03-cr-01136                 Fairley                  Sharon                Renee
1:07-cr-00843                 Fairley                  Sharon                Renee
1:14-cr-00393                 Fairley                  Sharon                Renee


1:13-cr-00563                Fayhee                     Ryan                   P.
1:14-cr-00482                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:14-cr-00539                Fayhee                     Ryan                   P.
1:15-cr-00062                Fayhee                     Ryan                   P.
1:15-cr-00063                Fayhee                     Ryan                   P.
1:99-cr-00545                Fayhee                     Ryan                   P.


1:00-cr-00410           Fernandez-Harvath              Maribel
1:14-cr-00051           Fernandez-Harvath              Maribel
1:16-mc-00049           Fernandez-Harvath              Maribel


1:09-cr-00383                Ferrara                   Michael               James
1:09-cr-00383                Ferrara                   Michael               James
1:09-cr-00383                Ferrara                   Michael               James
1:09-cr-00383                Ferrara                   Michael               James
1:09-cr-00383                Ferrara                   Michael               James
1:09-cr-00383                Ferrara                   Michael               James
1:09-cr-00383                Ferrara                   Michael               James
1:09-cr-00383                Ferrara                   Michael               James
1:09-cr-00383                Ferrara                   Michael               James
      Case: 1:16-cr-00438 Document #: 71 Filed: 02/21/20 Page 7 of 20 PageID #:352
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1:10-cr-00063                Ferrara                   Michael               James
1:10-cr-00063                Ferrara                   Michael               James
1:10-cr-00063                Ferrara                   Michael               James
1:11-cr-00064                 Fitter                    Seth                   B.


1:04-cr-00021                  Fox                     Brandon                  D


1:09-cr-00383               Frimpong                   Naana             Abenaa Nyarko
1:09-cr-00383               Frimpong                   Naana             Abenaa Nyarko
1:09-cr-00383               Frimpong                   Naana             Abenaa Nyarko
1:09-cr-00383               Frimpong                   Naana             Abenaa Nyarko
1:09-cr-00383               Frimpong                   Naana             Abenaa Nyarko
1:09-cr-00383               Frimpong                   Naana             Abenaa Nyarko
1:09-cr-00383               Frimpong                   Naana             Abenaa Nyarko
1:09-cr-00383               Frimpong                   Naana             Abenaa Nyarko
1:09-cr-00383               Frimpong                   Naana             Abenaa Nyarko


1:02-cr-00924                 Funk                       T                   Markus


1:06-cr-00964                Gillogly                  Daniel                William


1:98-cr-00420              Hammerman                    Joel                   M.


1:12-cr-00170                Harjani                    Sunil                   R
1:15-mc-00629                Harjani                    Sunil                   R
1:16-mc-00174                Harjani                    Sunil                   R
1:16-mc-00196                Harjani                    Sunil                   R
1:17-cr-00602                Harjani                    Sunil                   R
1:17-mc-00597                Harjani                    Sunil                   R
1:17-mc-00598                Harjani                    Sunil                   R
1:18-cr-00096                Harjani                    Sunil                   R
1:18-cr-00852                Harjani                    Sunil                   R
1:18-mc-00537                Harjani                    Sunil                   R
1:18-mc-00800                Harjani                    Sunil                   R


1:00-cr-00410                 Haxall                   Bolling                 W
1:16-mc-00385                 Haxall                   Bolling                 W
1:16-mc-00388                 Haxall                   Bolling                 W
1:17-cr-00600                 Haxall                   Bolling                 W
1:17-cr-00600                 Haxall                   Bolling                 W
1:17-mc-00237                 Haxall                   Bolling                 W
1:17-mc-00238                 Haxall                   Bolling                 W
      Case: 1:16-cr-00438 Document #: 71 Filed: 02/21/20 Page 8 of 20 PageID #:353
                                       ATTACHMENT A                                    7 OF19

1:17-mc-00239                 Haxall                   Bolling                 W
1:17-mc-00313                 Haxall                   Bolling                 W
1:17-mc-00510                 Haxall                   Bolling                 W
1:17-mc-00511                 Haxall                   Bolling                 W
1:17-mc-60024                 Haxall                   Bolling                 W
1:18-mc-00031                 Haxall                   Bolling                 W
1:18-mc-00032                 Haxall                   Bolling                 W
1:18-mc-00657                 Haxall                   Bolling                 W
1:19-cr-00134                 Haxall                   Bolling                 W
1:19-mc-60000                 Haxall                   Bolling                 W


1:16-cr-00159                 Hayes                    Brian
1:16-cr-00813                 Hayes                    Brian
1:18-cr-00561                 Hayes                    Brian
1:19-cr-00449                 Hayes                    Brian
1:19-cv-06465                 Hayes                    Brian


1:19-cr-00732                 Hesler                   Daniel                  J.


1:15-mc-00614                 Hiller                  Richard                Matthew
1:15-mc-00615                 Hiller                  Richard                Matthew
1:15-mc-00616                 Hiller                  Richard                Matthew
1:16-cr-00179                 Hiller                  Richard                Matthew
1:16-cr-00349                 Hiller                  Richard                Matthew
1:16-mc-00062                 Hiller                  Richard                Matthew
1:16-mc-00063                 Hiller                  Richard                Matthew
1:16-mc-00064                 Hiller                  Richard                Matthew
1:16-mc-00065                 Hiller                  Richard                Matthew
1:16-mc-00216                 Hiller                  Richard                Matthew
1:16-mc-00363                 Hiller                  Richard                Matthew
1:16-mc-00383                 Hiller                  Richard                Matthew
1:16-mc-00608                 Hiller                  Richard                Matthew
1:16-mc-00610                 Hiller                  Richard                Matthew
1:16-mc-00615                 Hiller                  Richard                Matthew
1:16-mc-00616                 Hiller                  Richard                Matthew
1:16-mc-00617                 Hiller                  Richard                Matthew
1:16-mc-00618                 Hiller                  Richard                Matthew
1:17-mc-00408                 Hiller                  Richard                Matthew
1:17-mc-00409                 Hiller                  Richard                Matthew
1:17-mc-00410                 Hiller                  Richard                Matthew
1:17-mc-00411                 Hiller                  Richard                Matthew
1:17-mc-00456                 Hiller                  Richard                Matthew
1:18-cv-01972                 Hiller                  Richard                Matthew
1:18-mc-00418                 Hiller                  Richard                Matthew
1:18-mc-00419                 Hiller                  Richard                Matthew
1:18-mc-00420                 Hiller                  Richard                Matthew
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1:18-mc-00421                 Hiller                  Richard                Matthew
1:18-mc-00422                 Hiller                  Richard                Matthew
1:18-mc-00441                 Hiller                  Richard                Matthew


1:02-cr-00124                Holman                   Rebekah
1:02-cr-00124                Holman                   Rebekah
1:17-cr-00608                Holman                   Rebekah
1:17-cr-00608                Holman                   Rebekah
1:17-cr-00626                Holman                   Rebekah
1:17-mc-00098                Holman                   Rebekah
1:17-mc-00099                Holman                   Rebekah
1:17-mc-00311                Holman                   Rebekah
1:17-mc-00441                Holman                   Rebekah
1:17-mc-00535                Holman                   Rebekah
1:17-mc-00558                Holman                   Rebekah
1:17-mc-00559                Holman                   Rebekah
1:17-mc-00562                Holman                   Rebekah
1:17-mc-00563                Holman                   Rebekah
1:17-mc-00580                Holman                   Rebekah
1:17-mc-00627                Holman                   Rebekah
1:18-cr-00647                Holman                   Rebekah
1:18-cr-00647                Holman                   Rebekah
1:18-cr-00647                Holman                   Rebekah
1:18-cr-00647                Holman                   Rebekah
1:18-cr-00647                Holman                   Rebekah
1:18-cr-00647                Holman                   Rebekah
1:18-cr-00647                Holman                   Rebekah
1:18-cr-00647                Holman                   Rebekah
1:18-cr-00647                Holman                   Rebekah
1:18-cr-00712                Holman                   Rebekah
1:18-cr-00712                Holman                   Rebekah
1:18-cr-00712                Holman                   Rebekah
1:18-cr-00712                Holman                   Rebekah
1:18-mc-00034                Holman                   Rebekah
1:18-mc-00035                Holman                   Rebekah
1:18-mc-00036                Holman                   Rebekah
1:18-mc-00037                Holman                   Rebekah
1:18-mc-00038                Holman                   Rebekah
1:18-mc-00057                Holman                   Rebekah
1:18-mc-00063                Holman                   Rebekah
1:18-mc-00064                Holman                   Rebekah
1:18-mc-00158                Holman                   Rebekah
1:18-mc-00167                Holman                   Rebekah
1:18-mc-00237                Holman                   Rebekah
1:18-mc-00238                Holman                   Rebekah
1:18-mc-00239                Holman                   Rebekah
1:18-mc-00240                Holman                   Rebekah
1:18-mc-00309                Holman                   Rebekah
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                                        ATTACHMENT A                                  9 OF19

1:18-mc-00310                 Holman                    Rebekah
1:18-mc-00411                 Holman                    Rebekah
1:18-mc-00474                 Holman                    Rebekah
1:18-mc-00660                 Holman                    Rebekah
1:18-mc-00708                 Holman                    Rebekah
1:18-mc-60008                 Holman                    Rebekah
1:18-mc-60013                 Holman                    Rebekah
1:18-mc-60036                 Holman                    Rebekah
1:19-cr-00029                 Holman                    Rebekah
1:19-cr-00163                 Holman                    Rebekah
1:19-cr-00176                 Holman                    Rebekah
1:19-mc-00174                 Holman                    Rebekah
1:19-mc-00196                 Holman                    Rebekah
1:19-mc-00197                 Holman                    Rebekah


1:02-cr-00719                Hotaling                  Christopher             Paul
1:15-mc-60067                Hotaling                  Christopher             Paul
1:16-cr-00097                Hotaling                  Christopher             Paul
1:16-cr-00731                Hotaling                  Christopher             Paul
1:16-mc-00486                Hotaling                  Christopher             Paul
1:16-mc-60001                Hotaling                  Christopher             Paul
1:16-mc-60002                Hotaling                  Christopher             Paul
1:16-mc-60023                Hotaling                  Christopher             Paul
1:16-mc-60039                Hotaling                  Christopher             Paul
1:16-mc-60042                Hotaling                  Christopher             Paul
1:16-mc-60047                Hotaling                  Christopher             Paul
1:16-mc-60052                Hotaling                  Christopher             Paul
1:17-mc-60005                Hotaling                  Christopher             Paul
1:18-cv-03629                Hotaling                  Christopher             Paul


1:02-cr-00573                 Hudson                    Nathalina               A
1:11-cr-00292                 Hudson                    Nathalina               A
1:12-cr-00755                 Hudson                    Nathalina               A
1:12-cr-00755                 Hudson                    Nathalina               A
1:12-cr-00755                 Hudson                    Nathalina               A
1:13-cr-00013                 Hudson                    Nathalina               A
1:13-cr-00016                 Hudson                    Nathalina               A
1:13-cr-00016                 Hudson                    Nathalina               A
1:13-cr-00016                 Hudson                    Nathalina               A
1:14-cr-00422                 Hudson                    Nathalina               A
1:15-mc-00608                 Hudson                    Nathalina               A
1:16-mc-00504                 Hudson                    Nathalina               A
1:16-mc-60014                 Hudson                    Nathalina               A
1:17-cr-00807                 Hudson                    Nathalina               A
1:17-mc-00129                 Hudson                    Nathalina               A
1:17-mc-00459                 Hudson                    Nathalina               A
1:17-mc-00599                 Hudson                    Nathalina               A
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1:17-mc-00600                 Hudson                  Nathalina                 A
1:17-mc-00601                 Hudson                  Nathalina                 A
1:17-mc-00602                 Hudson                  Nathalina                 A
1:17-mc-00603                 Hudson                  Nathalina                 A
1:17-mc-00604                 Hudson                  Nathalina                 A
1:17-mc-00605                 Hudson                  Nathalina                 A
1:17-mc-00606                 Hudson                  Nathalina                 A
1:17-mc-00607                 Hudson                  Nathalina                 A
1:17-mc-00608                 Hudson                  Nathalina                 A
1:17-mc-00609                 Hudson                  Nathalina                 A
1:17-mc-00610                 Hudson                  Nathalina                 A
1:17-mc-00611                 Hudson                  Nathalina                 A
1:17-mc-00629                 Hudson                  Nathalina                 A
1:17-mc-00630                 Hudson                  Nathalina                 A
1:17-mc-00631                 Hudson                  Nathalina                 A
1:18-cr-00400                 Hudson                  Nathalina                 A
1:18-cr-00400                 Hudson                  Nathalina                 A
1:18-cr-00400                 Hudson                  Nathalina                 A
1:18-cr-00726                 Hudson                  Nathalina                 A
1:18-cr-00726                 Hudson                  Nathalina                 A
1:18-mc-00545                 Hudson                  Nathalina                 A
1:19-mc-00066                 Hudson                  Nathalina                 A
1:96-cr-00149                 Hudson                  Nathalina                 A


1:16-cr-00025                 Jacobs                   Robert                   M.


1:17-cr-00319                  Kling                   Richard                  S


1:12-cr-00755                 Kness                     John                    F
1:12-cr-00755                 Kness                     John                    F
1:12-cr-00755                 Kness                     John                    F
1:13-cr-00013                 Kness                     John                    F
1:13-cr-00016                 Kness                     John                    F
1:13-cr-00016                 Kness                     John                    F
1:13-cr-00016                 Kness                     John                    F
1:15-mc-00612                 Kness                     John                    F
1:15-mc-00642                 Kness                     John                    F
1:15-mc-00643                 Kness                     John                    F
1:15-mc-00644                 Kness                     John                    F
1:16-cr-00147                 Kness                     John                    F
1:16-mc-00478                 Kness                     John                    F
1:18-cv-01659                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
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1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F
1:94-cr-00305                 Kness                     John                    F


1:08-cr-00947               Kubiatowski                Stephen                  A.
1:08-cr-00947               Kubiatowski                Stephen                  A.
1:08-cr-00947               Kubiatowski                Stephen                  A.


1:19-cv-01232                 Layng                    Patrick                Sean
1:20-cv-00596                 Layng                    Patrick                Sean


1:16-cr-00837                  Lee                     Stephen                Chahn
1:16-mc-00415                  Lee                     Stephen                Chahn
1:16-mc-00416                  Lee                     Stephen                Chahn
1:17-cr-00533                  Lee                     Stephen                Chahn
1:17-mc-00564                  Lee                     Stephen                Chahn
1:17-mc-00565                  Lee                     Stephen                Chahn
1:17-mc-00588                  Lee                     Stephen                Chahn
1:17-mc-00589                  Lee                     Stephen                Chahn
1:18-cr-00258                  Lee                     Stephen                Chahn
1:18-cr-00384                  Lee                     Stephen                Chahn
1:18-cr-00385                  Lee                     Stephen                Chahn
1:18-cr-00405                  Lee                     Stephen                Chahn
1:18-cr-00405                  Lee                     Stephen                Chahn
1:18-cr-00405                  Lee                     Stephen                Chahn
1:18-cr-00418                  Lee                     Stephen                Chahn
1:18-cr-00419                  Lee                     Stephen                Chahn
1:18-cr-00643                  Lee                     Stephen                Chahn
1:18-cr-00833                  Lee                     Stephen                Chahn
1:18-cv-00035                  Lee                     Stephen                Chahn
1:18-mc-00173                  Lee                     Stephen                Chahn
1:18-mc-00366                  Lee                     Stephen                Chahn
1:19-cv-02787                  Lee                     Stephen                Chahn
1:92-cr-01051                  Lee                     Stephen                Chahn
1:92-cr-01051                  Lee                     Stephen                Chahn
1:92-cr-01051                  Lee                     Stephen                Chahn
1:92-cr-01051                  Lee                     Stephen                Chahn
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1:04-cr-01001                  Levin                      Jennie             Horwitz
1:10-cr-00261                  Levin                      Jennie             Horwitz
1:10-cr-00261                  Levin                      Jennie             Horwitz
1:10-cr-00261                  Levin                      Jennie             Horwitz
1:12-cr-00821                  Levin                      Jennie             Horwitz
1:12-cr-01004                  Levin                      Jennie             Horwitz
1:15-cv-07008                  Levin                      Jennie             Horwitz
1:16-cr-00462                  Levin                      Jennie             Horwitz
1:16-cr-00462                  Levin                      Jennie             Horwitz
1:16-cr-00462                  Levin                      Jennie             Horwitz
1:16-cr-00462                  Levin                      Jennie             Horwitz
1:16-cr-00462                  Levin                      Jennie             Horwitz
1:16-cr-00462                  Levin                      Jennie             Horwitz
1:16-cr-00462                  Levin                      Jennie             Horwitz
1:16-cr-00462                  Levin                      Jennie             Horwitz
1:16-mc-00096                  Levin                      Jennie             Horwitz
1:17-mc-00518                  Levin                      Jennie             Horwitz
1:17-mc-00519                  Levin                      Jennie             Horwitz
1:18-cr-00025                  Levin                      Jennie             Horwitz
1:18-cr-00735                  Levin                      Jennie             Horwitz
1:19-mc-00481                  Levin                      Jennie             Horwitz


1:98-cr-00898                  Levin                       Joel                 R.
1:98-cr-00898                  Levin                       Joel                 R.


1:16-cv-04957                 Lidow                       David                 R


1:12-cr-00290                 Mariotti                    Renato                T.
1:15-cr-00247                 Mariotti                    Renato                T.
1:15-cr-00469                 Mariotti                    Renato                T.


1:17-mc-00514                  May                        Daniel             Edward
1:17-mc-00515                  May                        Daniel             Edward


1:94-cr-00333                McClellan                   Marsha                 A.


1:09-cr-00247               McFadden                    Christopher             R


1:07-cr-00224                 Nasser                     Michelle
1:07-cr-00224                 Nasser                     Michelle
      Case: 1:16-cr-00438 Document #: 71 Filed: 02/21/20 Page 14 of 20 PageID #:359
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1:07-cr-00224                 Nasser                    Michelle
1:07-cr-00224                 Nasser                    Michelle


1:03-cr-01136               Niewoehner                 Christopher
1:03-cr-01136               Niewoehner                 Christopher


1:15-cr-00515                 Novak                      William              Patrick
1:15-cr-00515                 Novak                      William              Patrick
1:15-cr-00515                 Novak                      William              Patrick
1:15-cr-00515                 Novak                      William              Patrick
1:17-cr-00522                 Novak                      William              Patrick
1:17-cr-00765                 Novak                      William              Patrick
1:19-cr-00057                 Novak                      William              Patrick
1:19-cr-00164                 Novak                      William              Patrick
1:19-cr-00239                 Novak                      William              Patrick


1:14-cr-00544                Otlewski                    Patrick              Mark


1:08-cr-00746                 Owens                      Derek
1:08-cr-00746                 Owens                      Derek
1:14-cr-00245                 Owens                      Derek
1:15-cr-00611                 Owens                      Derek
1:15-mc-00647                 Owens                      Derek
1:16-cr-00463                 Owens                      Derek
1:16-cr-00463                 Owens                      Derek
1:16-cr-00463                 Owens                      Derek
1:16-cr-00463                 Owens                      Derek
1:16-cr-00463                 Owens                      Derek
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1:16-cr-00463                 Owens                      Derek
1:16-cr-00463                 Owens                      Derek
      Case: 1:16-cr-00438 Document #: 71 Filed: 02/21/20 Page 15 of 20 PageID #:360
                                        ATTACHMENT A                                   14 OF19

1:16-cr-00463                 Owens                     Derek
1:16-cr-00463                 Owens                     Derek
1:16-cr-00463                 Owens                     Derek
1:16-cr-00463                 Owens                     Derek
1:16-cr-00463                 Owens                     Derek
1:16-cr-00463                 Owens                     Derek
1:16-cr-00463                 Owens                     Derek
1:16-cr-00463                 Owens                     Derek
1:16-cr-00463                 Owens                     Derek
1:19-cr-00372                 Owens                     Derek


3:04-cr-50071               Paccagnini                  Scott                 Robert


1:03-cr-01189                 Polovin                  Andrew                 Keith
1:15-cr-00314                 Polovin                  Andrew                 Keith
1:15-cr-00314                 Polovin                  Andrew                 Keith
1:15-cr-00379                 Polovin                  Andrew                 Keith
1:15-cr-00379                 Polovin                  Andrew                 Keith
1:15-mc-60066                 Polovin                  Andrew                 Keith
1:16-mc-00043                 Polovin                  Andrew                 Keith
1:16-mc-00044                 Polovin                  Andrew                 Keith
1:16-mc-00337                 Polovin                  Andrew                 Keith
1:16-mc-00338                 Polovin                  Andrew                 Keith


1:03-cr-00708                 Porter                    Julie                   B.
1:04-cr-00200                 Porter                    Julie                   B.
1:10-cr-00261                 Porter                    Julie                   B.
1:10-cr-00261                 Porter                    Julie                   B.
1:10-cr-00261                 Porter                    Julie                   B.


1:16-cr-00114                  Ray                     Allison                  A.
1:17-cr-00357                  Ray                     Allison                  A.
1:17-cr-00362                  Ray                     Allison                  A.
1:18-cr-00113                  Ray                     Allison                  A.
1:18-cr-00420                  Ray                     Allison                  A.
1:18-cr-00498                  Ray                     Allison                  A.
1:18-cv-06977                  Ray                     Allison                  A.
1:18-cv-07565                  Ray                     Allison                  A.
1:18-cv-07851                  Ray                     Allison                  A.


1:07-cr-00224                Ridgway                   William
1:07-cr-00224                Ridgway                   William
1:07-cr-00224                Ridgway                   William
1:07-cr-00224                Ridgway                   William
      Case: 1:16-cr-00438 Document #: 71 Filed: 02/21/20 Page 16 of 20 PageID #:361
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1:11-cr-00784                Ridgway                    William
1:14-cr-00376                Ridgway                    William
1:16-cr-00438                Ridgway                    William
1:16-cr-00438                Ridgway                    William
1:16-cr-00438                Ridgway                    William
1:16-cr-00622                Ridgway                    William
1:16-mc-00062                Ridgway                    William
1:16-mc-00063                Ridgway                    William
1:16-mc-00064                Ridgway                    William
1:16-mc-00065                Ridgway                    William
1:16-mc-00102                Ridgway                    William
1:16-mc-00123                Ridgway                    William
1:16-mc-00169                Ridgway                    William
1:16-mc-00170                Ridgway                    William
1:16-mc-00378                Ridgway                    William
1:16-mc-00379                Ridgway                    William
1:16-mc-00380                Ridgway                    William
1:16-mc-00381                Ridgway                    William
1:16-mc-00382                Ridgway                    William
1:16-mc-00468                Ridgway                    William
1:16-mc-00469                Ridgway                    William
1:16-mc-00496                Ridgway                    William
1:16-mc-00497                Ridgway                    William
1:16-mc-00498                Ridgway                    William
1:16-mc-00499                Ridgway                    William


1:18-cr-00760                 Rodney                    Renai                 Scherri
1:18-cr-00880                 Rodney                    Renai                 Scherri
1:19-cr-00461                 Rodney                    Renai                 Scherri


1:13-cr-00949                Romero                     Jessica
1:13-cr-00949                Romero                     Jessica
1:14-cr-00156                Romero                     Jessica
1:14-cr-00156                Romero                     Jessica
1:16-cr-00793                Romero                     Jessica
1:16-mc-00120                Romero                     Jessica
1:16-mc-00197                Romero                     Jessica
1:16-mc-00287                Romero                     Jessica
1:16-mc-00424                Romero                     Jessica
1:16-mc-00455                Romero                     Jessica
1:16-mc-00540                Romero                     Jessica


1:99-cr-00544                  Ryan                      John                   T


1:16-mc-00050                Salovaara                  Kaarina
      Case: 1:16-cr-00438 Document #: 71 Filed: 02/21/20 Page 17 of 20 PageID #:362
                                         ATTACHMENT A                                 16 OF19

1:16-mc-00051                Salovaara                  Kaarina
1:16-mc-00271                Salovaara                  Kaarina
1:17-mc-00498                Salovaara                  Kaarina
1:18-cr-00324                Salovaara                  Kaarina


1:15-cr-00379                 Sawyer                    Katherine
1:15-cr-00379                 Sawyer                    Katherine
1:17-cr-00225                 Sawyer                    Katherine
1:18-mc-00214                 Sawyer                    Katherine
1:18-mc-00224                 Sawyer                    Katherine
1:18-mc-00786                 Sawyer                    Katherine
1:18-mc-00802                 Sawyer                    Katherine
1:18-mc-00803                 Sawyer                    Katherine
1:18-mc-00804                 Sawyer                    Katherine
1:19-cr-00294                 Sawyer                    Katherine
1:19-mc-00045                 Sawyer                    Katherine
1:19-mc-00053                 Sawyer                    Katherine
1:19-mc-00298                 Sawyer                    Katherine
1:19-mc-00317                 Sawyer                    Katherine
1:19-mc-00318                 Sawyer                    Katherine
1:19-mc-00319                 Sawyer                    Katherine
1:96-cr-00291                 Sawyer                    Katherine
1:96-cr-00291                 Sawyer                    Katherine
1:96-cr-00291                 Sawyer                    Katherine
1:96-cr-00291                 Sawyer                    Katherine
1:96-cr-00291                 Sawyer                    Katherine


1:09-cr-00383               Shakeshaft                  Thomas                  D.
1:09-cr-00383               Shakeshaft                  Thomas                  D.
1:09-cr-00383               Shakeshaft                  Thomas                  D.
1:09-cr-00383               Shakeshaft                  Thomas                  D.
1:09-cr-00383               Shakeshaft                  Thomas                  D.
1:09-cr-00383               Shakeshaft                  Thomas                  D.
1:09-cr-00383               Shakeshaft                  Thomas                  D.
1:09-cr-00383               Shakeshaft                  Thomas                  D.
1:09-cr-00383               Shakeshaft                  Thomas                  D.


1:18-cv-02453                 Siskel                    Edward                  N


1:18-cv-06188               Snodgrass                   Douglas                 G.
1:18-cv-06188               Snodgrass                   Douglas                 G.
1:19-cv-06390               Snodgrass                   Douglas                 G.


1:02-cr-00283                 Stewart                    Joseph                 A.
      Case: 1:16-cr-00438 Document #: 71 Filed: 02/21/20 Page 18 of 20 PageID #:363
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1:04-cr-00021                 Stewart                  Joseph                   A.
1:05-cr-00409                 Stewart                  Joseph                   A.
1:09-cr-00247                 Stewart                  Joseph                   A.
1:09-cr-00539                 Stewart                  Joseph                   A.
1:09-cr-00539                 Stewart                  Joseph                   A.
1:09-cr-00539                 Stewart                  Joseph                   A.
1:10-cr-00063                 Stewart                  Joseph                   A.
1:10-cr-00063                 Stewart                  Joseph                   A.
1:10-cr-00063                 Stewart                  Joseph                   A.
1:10-cr-00261                 Stewart                  Joseph                   A.
1:10-cr-00261                 Stewart                  Joseph                   A.
1:10-cr-00261                 Stewart                  Joseph                   A.
1:10-cr-00881                 Stewart                  Joseph                   A.
1:12-cr-00791                 Stewart                  Joseph                   A.
1:13-cr-00037                 Stewart                  Joseph                   A.
1:13-cr-00037                 Stewart                  Joseph                   A.
1:13-cr-00037                 Stewart                  Joseph                   A.
1:13-cr-00037                 Stewart                  Joseph                   A.
1:13-cr-00623                 Stewart                  Joseph                   A.
1:13-cr-00623                 Stewart                  Joseph                   A.
1:13-cr-00761                 Stewart                  Joseph                   A.
1:14-cr-00245                 Stewart                  Joseph                   A.
1:14-cr-00319                 Stewart                  Joseph                   A.
1:15-cr-00675                 Stewart                  Joseph                   A.
1:94-cr-00723                 Stewart                  Joseph                   A.
1:97-cr-00519                 Stewart                  Joseph                   A.
1:99-cr-00081                 Stewart                  Joseph                   A.
1:99-cr-00545                 Stewart                  Joseph                   A.


1:09-cr-00514                 Trivedi                   Kruti                   D.
1:14-cr-00734                 Trivedi                   Kruti                   D.
1:16-cr-00811                 Trivedi                   Kruti                   D.
1:18-mc-00058                 Trivedi                   Kruti                   D.


1:18-cr-00122                  Tzur                     Paul                    H.
1:18-cr-00122                  Tzur                     Paul                    H.
1:18-cr-00805                  Tzur                     Paul                    H.
1:19-cr-00410                  Tzur                     Paul                    H.
1:19-cr-00477                  Tzur                     Paul                    H.
1:19-cr-00587                  Tzur                     Paul                    H.
1:19-cr-00587                  Tzur                     Paul                    H.
1:19-cr-00587                  Tzur                     Paul                    H.
1:20-cv-00884                  Tzur                     Paul                    H.


1:14-cr-00326                Wallach                    Brian                   S.
1:14-cr-00326                Wallach                    Brian                   S.
      Case: 1:16-cr-00438 Document #: 71 Filed: 02/21/20 Page 19 of 20 PageID #:364
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1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
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1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
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1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00463                Wallach                    Brian                   S.
1:16-cr-00554                Wallach                    Brian                   S.
1:16-mc-00087                Wallach                    Brian                   S.
1:16-mc-00088                Wallach                    Brian                   S.
1:16-mc-00089                Wallach                    Brian                   S.
1:16-mc-00103                Wallach                    Brian                   S.
1:16-mc-00135                Wallach                    Brian                   S.
1:16-mc-00149                Wallach                    Brian                   S.
1:16-mc-00168                Wallach                    Brian                   S.
1:16-mc-00182                Wallach                    Brian                   S.
1:16-mc-00357                Wallach                    Brian                   S.
1:16-mc-00397                Wallach                    Brian                   S.
1:17-cr-00338                Wallach                    Brian                   S.
1:19-cv-06421                Wallach                    Brian                   S.


1:14-cr-00482                 Welsh                   Katherine                Neff
1:15-cr-00611                 Welsh                   Katherine                Neff
1:16-cr-00114                 Welsh                   Katherine                Neff
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1:16-cr-00570                 Welsh                   Katherine                Neff
1:16-mc-00167                 Welsh                   Katherine                Neff
1:16-mc-00318                 Welsh                   Katherine                Neff
1:16-mc-00319                 Welsh                   Katherine                Neff
1:16-mc-00322                 Welsh                   Katherine                Neff
1:16-mc-00323                 Welsh                   Katherine                Neff
1:17-mc-00275                 Welsh                   Katherine                Neff
1:17-mc-00298                 Welsh                   Katherine                Neff
1:17-mc-00299                 Welsh                   Katherine                Neff
1:17-mc-00306                 Welsh                   Katherine                Neff
1:18-cr-00352                 Welsh                   Katherine                Neff
1:18-cr-00352                 Welsh                   Katherine                Neff
1:18-cr-00440                 Welsh                   Katherine                Neff
1:18-cr-00529                 Welsh                   Katherine                Neff
1:18-mc-00290                 Welsh                   Katherine                Neff
1:18-mc-00577                 Welsh                   Katherine                Neff
1:18-mc-00797                 Welsh                   Katherine                Neff
1:18-mc-60044                 Welsh                   Katherine                Neff
1:19-cr-00148                 Welsh                   Katherine                Neff
1:19-cr-00148                 Welsh                   Katherine                Neff
1:19-cr-00148                 Welsh                   Katherine                Neff
1:19-cv-06575                 Welsh                   Katherine                Neff
1:19-mc-00158                 Welsh                   Katherine                Neff
1:19-mc-00159                 Welsh                   Katherine                Neff
1:19-mc-00225                 Welsh                   Katherine                Neff
1:19-mc-00305                 Welsh                   Katherine                Neff
1:19-mc-00306                 Welsh                   Katherine                Neff
1:19-mc-00466                 Welsh                   Katherine                Neff


1:11-cr-00064                Woodall                    Mirta                   J.


1:02-cr-00924                 Yeadon                   Kenneth               Edward
1:11-cr-00292                 Yeadon                   Kenneth               Edward
1:13-cr-00761                 Yeadon                   Kenneth               Edward
1:14-cr-00287                 Yeadon                   Kenneth               Edward
1:14-cr-00287                 Yeadon                   Kenneth               Edward
1:14-cr-00287                 Yeadon                   Kenneth               Edward
1:18-cv-02975                 Yeadon                   Kenneth               Edward


1:97-cr-00664                  Zell                     Kate
